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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                )
                                                         )                     8:16CR30
                          Plaintiff,                     )
                                                         )
        vs.                                              )                      ORDER
                                                         )
AMBER E. NEUFELD,                                        )
                                                         )
                          Defendant.                     )


        This matter is before the court on the motion for an extension of time by defendant Amber E. Neufeld
(Neufeld) (Filing No. 20). Neufeld seeks until March 17, 2016, in which to file pretrial motions in accordance with
the progression order. Neufeld's counsel represents that government's counsel has no objection to the motion.
Upon consideration, the motion will be granted.


        IT IS ORDERED:
        Defendant Neufeld's motion for an extension of time (Filing No. 20) is granted. Neufeld is given until
on or before March 17, 2016, in which to file pretrial motions pursuant to the progression order. The ends of
justice have been served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between

February 17, 2016, and March 17, 2016, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
        DATED this 17th day of February, 2016.
                                                             BY THE COURT:

                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
